                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                 AT GREENEVILLE



UNITED STATES OF AMERICA                             )
                                                     )              No. 2:08-CR-102
V.                                                   )              District Judge Greer
                                                     )              Magistrate Judge Inman
JESUS HUERTA ET AL.                                  )


                   REPORT AND RECOMMENDATION
        REGARDING HERNANDEZ’S MOTION TO SUPPRESS EVIDENCE
                            (DOC. 406)


        On July 3, 2008, this court issued a warrant for the search of Apartment 8, 390 Cedar

Grove Road in Johnson City, Tennessee, which was defendant’s residence at that time.

According to the executing officer’s return, he seized three drug ledgers, some digital

photographs and videos extracted from a jump drive device, and 1.4 grams of marijuana.

        The warrant to search defendant’s residence was one of twelve issued by this court

on July 3, 2008. All twelve warrants were supported by the single affidavit of Special Agent

Mike Templeton of the Drug Enforcement Administration.               Mr. Hernandez has filed a

motion to suppress all evidence seized under that warrant, arguing that Agent Templeton’s

affidavit failed to state probable cause to search his apartment. (Doc. 406). This motion has

been referred to the magistrate judge pursuant to the standing order of this Court and 28

U.S.C. § 636. A hearing was held on November 9, 2009.

               The Fourth Amendment states that “no warrant shall issue but upon
               probable cause, supported by oath or affirmation . . . .” U.S. CONST.
               amend. IV. To demonstrate probable cause to justify the issuance of



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              a search warrant, an affidavit must contain facts that indicate “a fair
              probability that evidence of a crime will be located on the premises
              of the proposed search.” United States v. Jenkins, 396 F.3d 751, 760
              (6th Cir. 2005). This conclusion depends on the totality of the
              circumstances. Illinois v. Gates, 462 U.S. 213, 230 (1983). The
              probable cause standard is a “practical, non-technical conception”
              that deals with the “factual and practical considerations of everyday
              life.” Id., at 231.

United States v. Frazier, 423 F.3d 526, 531 (6th Cir. 2005).

       When a defendant contends that the affidavit fails to establish probable cause to

support the warrant, the court’s review “is limited to the information presented in the four-

corners of the affidavit.” Frazier, 423 F.3d at 531.

       The following paragraphs relate directly or indirectly to Mr. Hernandez:

       Paragraph 6 recites that on August 9, 2007, narcotics agents stopped the vehicle

driven by Jesus Huerta, and which was owned by Jonathan Shell. A subsequent search of

that vehicle revealed $1,400.00 in currency, a Glock 9 mm handgun, and a substantial

amount of ammunition. On Mr. Huerta’s person was discovered 2.3 grams of cocaine. Mr.

Hernandez was riding in the car as a passenger.

       In paragraph 24, Agent Templeton recites that the confidential informant relayed

information regarding the marijuana trafficking activities of Jose Colunga and others.

       Paragraph 25 states that the confidential informant reported that Jose Colunga was

assisted in the distribution of marijuana by defendant herein, Carlos Hernandez.

       Paragraph 27 recites that Agent Templeton and others established surveillance of Mr.

Hernandez’s residence at 390 Cedar Grove Road in Johnson City. In paragraph 28, Agent

Templeton recites that he observed three Hispanic males leave Mr. Hernandez’s residence
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and drive away in a gold Lexus registered to Jonathan Shell. A subsequent traffic stop of that

vehicle revealed that the driver was Jesus Huerta, who was accompanied by Mr. Vizcarra-

Lopez and Gamino-Villa.

       Paragraph 35 states that the Washington County Sheriffs Office obtained from the

confidential informant numerous photographs, some of which depicted Jose Colunga, Juan

Colunga, defendant Hernandez herein, and others. One of those photographs showed

Hernandez holding $8,000.00 in what appeared to be twenty dollar bills, which were

wrapped in rubber bands and appeared to be a “doper roll.”

       Paragraph 44 recites that on June 8, 2008, Agent Templeton and other agents followed

Jose Colunga and another co-defendant to Carmike Cinemas in Johnson City, where he

observed Hernandez drive up and join Colunga and the others as they walked into the theater.

       Lastly, paragraph 52 of Agent Templeton’s affidavit states that based upon the

foregoing, he had reason to believe that he would find at Mr. Hernandez’ residence a plethora

of tangible items and records constituting evidence of drug trafficking.

       The totality of the circumstances described in Agent Templeton’s affidavit is more

than adequate to establish probable cause that Mr. Hernandez was involved in drug

trafficking. Nevertheless, his attorney vigorously argues that the affidavit fails to establish

any “nexus” to defendant’s residence. Stated another way, defendant argues that nothing in

the affidavit suggests that evidence of drug trafficking would be found at defendant’s

residence.


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       An affidavit filed in support of an application for a search warrant must set forth facts

that establish probable cause to believe that evidence of criminal activity will be found at the

place to be searched; this is the so-called nexus requirement. “[W]hether a sufficient nexus

has been shown to a particular location turns in part on the type of crime being investigated,

the nature of the things to be seized, the extent of an opportunity to conceal the evidence

elsewhere, and the normal inferences that may be drawn as to likely hiding places.”United

States v. Savoca, 761 F.2d 292 (6th Cir.) cert. denied, 474 U.S. 852 (1985).

       In paragraph 2(a) of Agent Templeton’s affidavit, he recites that “I know that it is

common for drug traffickers to secrete [sic] proceeds of drug sales and records of drug

transactions in secure locations within their residences and other locations they feel are

secure . . . .”   The Sixth Circuit Court of Appeals has lent its imprimatur to Agent

Templeton’s statement: “In the case of drug dealers, evidence is likely to be found where

the dealers live.” United States v. Jones, 159 F.3d 969, 975 (6th Cir. 1998), quoting United

States v. Lamon, 930 F.2d 1183 (7th Cir. 1991). See also, United States v. Gunter, 551 F.3d

472, 481 (6th Cir. 2009).

       Defense counsel, as is his wont, has made a well-reasoned and thoughtful argument

that Jones, Lamon, and Gunter are distinguishable from the facts presented by the instant

search warrant. He argues that the Sixth Circuit’s statement that “in the case of drug dealers

evidence is likely to be found where they live,” has reference to drug dealers who have been

so identified by prior overt acts of distribution, whereas Agent Templeton’s affidavit


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describes no overt act, but only evidence that suggests that he was part of the larger

conspiracy.

       Respectfully, the court disagrees with defense counsel. In any search warrant, the

question is one probable cause, not proof beyond a reasonable doubt, not even proof by a

preponderance of the evidence. Probable cause is only “a fair probability that contraband or

evidence of a crime will be found at a particular place.” Agent Templeton’s affidavit is

replete with evidence that Mr. Hernandez was deeply involved in drug trafficking with Jose

Colunga and others. Stated another way, the affidavit, when read in a commonsensical

fashion, indicates that probably Mr. Hernandez was a drug dealer. From that, in line with

the above-quoted Sixth Circuit precedent, it was likely that evidence of his drug dealing

would be found at his residence.

       It is respectfully recommended that defendant Hernandez’s motion to suppress (Doc.

406) be denied.1

       Respectfully submitted,


                                                        s/ Dennis H. Inman
                                                    United States Magistrate Judge




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         Any objections to this report and recommendation must be filed within ten (10) days of
its service or further appeal will be waived. 28 U.S.C. § 636(b)(1)(B) and (C). United States v.
Walters, 638 F.2d 947-950 (6th Cir. 1981); Thomas v. Arn, 474 U.S. 140 (1985).

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